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                          UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO


 AZAD HAJI ABDULLAH,
                                               Case No. 1:17-cv-00098-DCN
                       Petitioner,             (former case no. 15-mc-08251-BLW)

    v.                                         CAPITAL CASE

 TIM RICHARDSON, Warden of the                 ORDER RE: APPOINTMENT OF
 Idaho Maximum Security Prison,                LOCAL COUNSEL

                       Respondent.


         The Court granted the change of appointed counsel request of Petitioner Azad Haji

Abdullah on December 27, 2021. Dkt. 32. Because the Court is satisfied from Petitioner’s

filings that he is financially unable to employ counsel, he does not wish to waive counsel,

and the interests of justice so require, IT IS ORDERED that Idaho-licensed and capital-

qualified attorney Craig H. Durham is appointed local CJA counsel for Petitioner, in

conjunction with the recent appointment of lead counsel from the Federal Community

Defender Office for the Eastern District of Pennsylvania (FCDO). Mr. Durham shall

submit his requests for attorney fees and costs to the Court via the Court’s established




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Criminal Justice Act procedures, using the appropriate forms.1 The Clerk shall forward a

copy of this Order to Mr. Durham at his registered ECF address.


                                                   DATED: January 27, 2022


                                                   _________________________
                                                   David C. Nye
                                                   Chief U.S. District Court Judge




1
 See CJA 30 Death Penalty Proceedings standard form: Appointment of and Authority To Pay Court-
Appointed Counsel (Rev. 02/12) at https://www.uscourts.gov/sites/default/files/cja30.pdf.


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